Case 3:16-md-02738-MAS-RLS Document 29029 Filed 02/12/24 Page 1 of 2 PageID: 173528




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    February 12, 2024

    Honorable Michael A. Shipp, U.S.D.J.
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

    Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales Practices and Products
              Liability Litigation
              Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Shipp,

            On behalf of the Johnson & Johnson Defendants, I write in response to the Morelli Law
    Firm’s letter (Dkt. No. 29020) which seeks guidance from the Court regarding interpretation of
    Case Management Order No. 9 (Dkt. No. 27293) and the Court’s October 10, 2023 Order
    Governing Amendments to Complaints (Dkt. No. 28519).

             Put simply, there is no tension between the two orders Mr. Morelli cites and no need for
    the Court to grant the relief Mr. Morelli seeks. Case Management Order No. 9 (“CMO 9”) was
    entered on September 1, 2023 and applies “to all actions currently pending in this MDL only as of
    the date of this order.” (Dkt. No. 27293, ¶ 1.) In cases in which “the Plaintiff is now deceased” –
    i.e., as of September 1, 2023 – CMO 9 requires counsel to take one of two actions within 180
    days of the order (i.e., on or before February 28, 2024): (1) “file and serve a motion to substitute
    a proper party,” or (2) “file and serve a notice explaining why a proper party may not be substituted
    at this time.” (Id., ¶ 2.) Thus, CMO 9 applies only to cases in which the named plaintiff was
    deceased as of September 1, 2023 and provided six months in which to substitute a proper party.
    If that is not sufficient, CMO 9 permits counsel to file and serve a notice explaining why it is not
    sufficient.

            In contrast, the Court’s October 10, 2023 Order applied to all cases in the MDL and did
    not discuss deadlines for substitutions. It merely offered an alternate procedure by which
    substitutions could be accomplished:

              Plaintiffs are hereby granted leave to amend their complaint to substitute the party
              plaintiff so long as no new defendants are added to the complaint and as
              necessary, documents establishing the newly substituted plaintiff’s authority to
              prosecute the action (as defined by applicable state law) are attached as an exhibit
              to the complaint. No further permission of the Court is required for amendments
              that comply with these requirements.

    (Dkt. No. 28519, ¶ 1.) Nothing in the October 10, 2023 Order can be reasonably
    interpreted as superseding the deadline imposed by CMO 9 nor was that the intent of the
    Order.
Case 3:16-md-02738-MAS-RLS Document 29029 Filed 02/12/24 Page 2 of 2 PageID: 173529



    Honorable Michael A. Shipp,                    -2-                             February 12, 2024
    U.S.D.J.

             In short, by February 28, 2024, Mr. Morelli will have had six months in which to prepare
    and submit a motion to substitute in any case to which that CMO 9-imposed deadline applies.
    The Court’s October 10, 2023 Order provided an alternative to filing a motion to substitute but did
    not alter the February 28, 2024 deadline by which to take action on the cases to which CMO 9
    applies. And if Mr. Morelli is unable to meet the February 28, 2024 deadline, CMO 9 directs him
    to file and serve a notice explaining why he is unable to meet it. There is therefore no need for
    the Court to take action on Mr. Morelli’s letter.

    Thank you for your consideration of these matters.

    Respectfully submitted,




    Susan M. Sharko
    FAEGRE DRINKER BIDDLE & REATH LLP



    SMS/emf

    cc:     All Counsel (via ECF)
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